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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 21-cv-21287-ALTMAN/Reid

  ABIGAIL VELEZ,

          Plaintiff,

  v.

  D NAKAMA FACTION CORP, et al.,

        Defendants.
  _________________________________________/

                                                  ORDER

          The parties attended a status conference on October 1, 2021. For the reasons stated on the

  record, parties shall, by October 8, 2021, engage in an informal settlement conference with one

  another. Counsel for all parties must confer by telephone or other teleconference service, and a

  representative with settlement authority for each party shall also attend or be available by telephone.

  The settlement conference must last at least one hour, which may include time spent conferring with

  clients. In addition, by October 8, 2021, 2021, the parties shall file a Joint Notice of Compliance with

  this Order and indicate the result of the settlement conference. If the parties settle the entire case, they

  shall also enter a Joint Notice of Settlement with the Court.

          DONE AND ORDERED in Miami, Florida this 1st day of September 2021.




                                                              ________________________________
                                                              ROY K. ALTMAN
                                                              UNITED STATES DISTRICT JUDGE

  cc:     counsel of record
